     Case 3:20-cv-03345-WHO        Document 131     Filed 01/27/21    Page 1 of 15



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17                              UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                  SAN FRANCISCO DIVISION

20
     BMA LLC, Yaroslav Kolchin, Vitaly              Case No. 3:20-cv-03345-WHO
21   Dubinin, Dmitry Dolgov, and Păun Gabriel-
     Razvan,                                        (Consolidated Case Nos. 3:20-cv-07140-
22                                                  WHO and 3:20-cv-08034-WHO)
                      Plaintiffs,
23         v.                                       JOINT CASE MANAGEMENT
                                                    STATEMENT
24   HDR Global Trading Limited (A.K.A.
     BitMEX), ABS Global Trading Limited,           Date:    February 3, 2021
25   Grape Park LLC, Mark Sweep LLC,                Time:    2:00 p.m.
     Unknown Exchange, Arthur Hayes, Ben            Ctrm:    2 – 17th Floor
26   Delo, Samuel Reed, Agata Maria Reed            Judge:   Honorable William H. Orrick
     (A.K.A. Agata Maria Kasza), Barbara A.
27   Reed, and Trace L. Reed,
                      Defendants.
28
                                                        JOINT CASE MANAGEMENT STATEMENT
                                                                         3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO            Document 131       Filed 01/27/21      Page 2 of 15



 1          Pursuant to Federal Rule of Civil Procedure 16, as well as Civil Local Rule 16-10(d),
 2   Plaintiffs BMA LLC, Yaroslav Kolchin, Vitaly Dubinin, Dmitry Dolgov, and Păun Gabriel-
 3   Razvan (together “Plaintiffs”) and Defendants HDR Global Trading Limited (“HDR”), ABS
 4   Global Trading Limited (“ABS”), Grape Park LLC, Mark Sweep LLC, Arthur Hayes, Ben Delo,
 5   Samuel Reed, Agata Maria Reed, Barbara A. Reed, and Trace L. Reed (together “Defendants”)
 6   hereby submit this Joint Case Management Statement, reporting progress or changes since the
 7   initial Joint Case Management Statement was filed on August 11, 2020. See ECF 33.
 8   I.     FACTS
 9          DEFENDANTS’ STATEMENT:
10          The Joint Case Management Statement process is not an appropriate vehicle for Plaintiffs
11   to repeat portions of their Consolidated Complaint and otherwise offer pages of allegations not
12   pertinent to the procedural issues for a Case Management Conference. See Civil L.R. 16-10(d)
13   (stating that purpose of subsequent Joint Case Management Statement is to “report[] progress or
14   changes since the last statement was filed and mak[e] proposals for the remainder of the case
15   development process”). Defendants take exception to Plaintiffs’ Statement below in many
16   respects and, while this is not the forum to respond to Plaintiffs’ allegations, Defendants
17   respectfully refer the Court to the “Relevant Background” section of Defendants’ pending Motion
18   to Dismiss. 1 ECF 126 at § III.
19          PLAINTIFFS’ STATEMENT:
20          A.      Defendants’ history of brazen lawlessness
21          Defendants Arthur Hayes (“Hayes”), Ben Delo (“Delo”) and Samuel Reed (“Reed”) are
22   notorious fraudsters, who have been criminally charged with felony money laundering related
23   offenses by the U.S. Department of Justice (“DOJ”) and two of whom are currently fugitives from
24   the U.S. law enforcement, see Consolidated Complaint (“Compl.”) ¶ 2. Compl. Ex. 4 and 5 are
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            1
              In particular, Plaintiffs reference an ex parte application filed in a dismissed and
26   unrelated state court case (Amato v. HDR) in which neither Plaintiffs nor their counsel had any
     involvement. That entire ex parte application was eventually withdrawn and stricken from the
27   record by the Court on December 17, 2020, making the defendants’ motion to seal or strike the
     application in that action—which Plaintiffs also reference below—moot and Plaintiffs’ citation to
28   and reliance on the application itself improper.
                                                               JOINT CASE MANAGEMENT STATEMENT
                                                                                3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO          Document 131        Filed 01/27/21      Page 3 of 15



 1   true and correct copies of the DOJ criminal indictment and Commodity Futures Trading
 2   Commission (“CFTC”) enforcement action against Defendants and the corresponding
 3   announcements. Defendant Hayes publicly admitted to bribery of foreign government officials
 4   and bank fraud and even expressed pride in his actions, Compl. ¶¶ 14, 29, 31; Ex. 10, 11. Compl.
 5   Ex. 17 and 18 are true and correct copies of two sworn declarations by two of the defrauded
 6   victims of the Defendants, Frank Amato and Elfio Guido Capone, attesting, under oath, how
 7   Defendants defrauded them out of millions of dollars.
 8          In 2014, Defendants launched a bitcoin derivatives trading platform BitMEX, which
 9   enables traders to place bets on direction of cryptocurrency prices. In designing their platform,
10   Defendants decided to sidestep any financial controls mandated by the traditional banking system
11   by transacting only in bitcoin and refused to implement any know your customer (“KYC”) or
12   anti-money laundering (“AML”) checks what so ever, Compl. ¶¶ 6, 283-85, 287; Ex. 1; Ex. 4 ¶¶
13   21-23. In other words, Defendants would open account and accept unlimited funds from anyone,
14   without a single question asked.
15          In fact, one can open an account, deposit unlimited funds and start trading without
16   furnishing a single document, all is required is a user name and email address, which are not
17   verified by BitMEX in any way, Compl. ¶¶ 283-85. The entire account registration and funding
18   process takes about 10 minutes and no documents are even looked at. Understandably, because
19   of total lack of controls of any kind, hackers, tax evaders, money launderers, smugglers, drug
20   dealers all flocked to BitMEX flooding the platform with hot money, CC ¶ 7; Ex. 1 p. 2. A recent
21   and very telling example is the infamous Twitter hacker, who turned out to be a BitMEX trader,
22   Compl. ¶ 7; Ex. 6.
23          Having a large pool of hot money at their disposal, Defendants designed the internal
24   workings of their trading platform to enable, encourage and benefit from market manipulation. It
25   all has to do with anonymity, lack of trading limits, high leverage and how their .BXBT index
26   price for bitcoin derivatives is calculated, Compl. ¶ 8. Defendants deliberately designed
27   this .BXBT index price to be based on bitcoin spot price on two or three illiquid bitcoin spot
28   exchanges, Compl. ¶ 8. Illiquid in this context means that, to precipitously move bitcoin price on
                                                              JOINT CASE MANAGEMENT STATEMENT
                                                   -2-                         3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO            Document 131      Filed 01/27/21      Page 4 of 15



 1   those exchanges, relatively small market orders will suffice, Compl. ¶ 8. Therefore, a relatively
 2   small market order on a thinly traded spot exchange results in a relatively large .BXBT index
 3   price move on the very liquid BitMEX, making manipulation very profitable, Compl. ¶ 8; Ex. 2
 4   pp. 2-3; Ex. 3 p. 2; Ex. 7, 16.
 5           Defendants opened two exchange accounts – a helper account on one or more thinly
 6   traded exchanges used by BitMEX to calculate its index price (Coinbase Pro, Kraken and
 7   BitStamp) and a winner account on BitMEX itself. Compl. ¶ 9. Defendants then entered into a
 8   large leveraged derivatives position on BitMEX and immediately executed market orders from
 9   the helper account with maximum slippage to move the index price in a favorable direction,
10   Compl. ¶ 9; Ex. 2, 3, 7, 16. Due to a disparity in liquidity between BitMEX and the thinly traded
11   spot exchanges, the aforesaid deliberate design of the index price by Defendants, and the
12   cascading liquidations of leveraged trader positions on BitMEX, the amount spent from the helper
13   account is multiplied greatly and translates into outsized profit in the winner account on BitMEX,
14   Compl. ¶ 9; Ex. 2, 3, 7, 16. At times, the market manipulation profit in the winner account may
15   be as high as 8000% (or 80x) of the amount spent from the helper account, Compl. Ex. 3 p. 4.
16   This makes Defendants’ market manipulation immensely profitable. The market manipulation
17   gains realized by Defendants in the winner account and the funds confiscated by BitMEX
18   platform as the result of liquidations induced by Defendants themselves were generated at the
19   expense of Plaintiffs and other cryptocurrency traders like Plaintiffs, who were financially ruined
20   by Defendants. Compl. ¶ 10.
21           B.      Defendants’ brazen asset dissipation on the eve of criminal indictments
22           Being keenly aware of the CFTC and DOJ civil and criminal investigations and
23   imminently forthcoming civil and criminal charges, and while preparing to go on a lam from the
24   U.S. authorities, Defendants Hayes, Delo and Reed siphoned about $440,308,400 of proceeds of
25   various nefarious activities that took place on the BitMEX platform, from accounts of Defendant
26   HDR to their personal accounts, Compl. ¶¶ 16-17, Ex. 17, 18; ECF 84-8 pp. 9-10. The siphoned
27   funds were divided among Defendants and their relatives. These fraudulent distributions of
28   proceeds of illegal acts were made after Defendants learned about the Government investigations
                                                              JOINT CASE MANAGEMENT STATEMENT
                                                   -3-                         3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO           Document 131         Filed 01/27/21      Page 5 of 15



 1   and after receiving a draft complaint in this civil action in 2019, with a substantial tranche coming
 2   just two months before the criminal indictments, ECF 84-8 pp. 9-10.
 3          As soon as Plaintiffs became aware of the evidence of siphoning of $440,308,400 of funds
 4   from Defendant HDR by other Defendants on the eve of criminal indictments, which appeared in
 5   public court filings in the related case, Amato et al. v. HDR et al., San Francisco Superior Court
 6   Case No. CGC-19-581267 (“Amato Action”), Defendants urgently settled the Amato Action and
 7   moved the Court to strike or seal the discovered evidence of asset dissipation telling San
 8   Francisco Superior Court Judge Massullo that the relevant documents were filed in a public court
 9   record in violation of a protective order in that case and that the revelations caused “great
10   damage” to Defendants, Ex. C pp. 2, 5-6.
11          On October 1, 2020, Defendants Hayes, Delo and Reed were indicted by DOJ on felony
12   charges of violating the Bank Secrecy Act and conspiring to violate the Bank Secrecy Act, by
13   willfully failing to establish, implement, and maintain an adequate anti-money laundering
14   (“AML”) program at BitMEX. Compl. ¶ 3. In announcing the indictment, Compl. Ex. 4, FBI
15   Assistant Director William F. Sweeney Jr. said: “As we allege here today, the four defendants,
16   through their company’s BitMEX crypto-currency trading platform, willfully violated the Bank
17   Secrecy Act by evading U.S. anti-money laundering requirements. One defendant went as far as
18   to brag the company incorporated in a jurisdiction outside the U.S. because bribing regulators in
19   that jurisdiction cost just ‘a coconut.’ Thanks to the diligent work of our agents, analysts, and
20   partners with the CFTC, they will soon learn the price of their alleged crimes will not be paid
21   with tropical fruit, but rather could result in fines, restitution, and federal prison time." Reed was
22   apprehended by the FBI in Boston, Massachusetts. Defendant Hayes and Delo remain at large
23   and are currently fugitives wanted by the U.S. Government. Compl. ¶ 3.
24          On the same day, the CFTC announced the filing of a civil enforcement action in the U.S.
25   District Court for the Southern District of New York charging Defendants HDR, ABS, Hayes,
26   Delo and Reed with operating an unregistered trading platform and violating multiple CFTC
27   Regulations, including failing to implement required anti-money laundering procedures. Compl.
28   ¶ 4. Among those charged were company owners Defendants Hayes, Delo, and Reed, who
                                                                JOINT CASE MANAGEMENT STATEMENT
                                                     -4-                         3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO         Document 131         Filed 01/27/21     Page 6 of 15



 1   operate BitMEX’s platform through a maze of corporate entities, including Defendants HDR and
 2   ABS. BitMEX’s platform has received more than $11 billion in bitcoin deposits from U.S.
 3   traders and made more than $1 billion in corresponding fees, while conducting significant aspects
 4   of its business from California and accepting orders and funds from 85,000 U.S. customers.
 5   Compl. Ex. 5 ¶ 3. Awash with large amounts of tainted cash and encouraged by perceived lack of
 6   any accountability, Defendants grew so brazen that they do not even hesitate to publicly admit to
 7   bribery and bank fraud, Compl. ¶¶ 14, 29, 31; Ex. 10, 11.
 8          C.      History of Defendants’ fraudulent shell games
 9          Despite the fact that the vast majority of personnel and managers of BitMEX are located
10   in California, Compl. ¶¶ 107-108, to avoid being subject to United States laws, regulations and
11   taxes, Defendants established 12 false shell companies, including Defendant ABS, with intent to
12   create an appearance that Defendant HDR has no presence, operations or investors in regulated
13   jurisdictions such as the United States. As CFTC observed in its complaint, Compl. Ex. 5,
14   Defendants Hayes and his accomplices “operate BitMEX’s platform through a maze of corporate
15   entities.” Compl. Ex. 5 ¶¶ 10-15.
16          Defendants are serial offenders when it comes to disregard for the rule of law, as they
17   have demonstrated both by their fraudulent misconduct in their dealings with their own early
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     investors and their brazen indifference towards the authority of courts and regulators. When
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                                                             JOINT CASE MANAGEMENT STATEMENT
                                                   -5-                        3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO           Document 131        Filed 01/27/21      Page 7 of 15



 1   investor Capone emailed Defendant Hayes about status of his equity rights in BitMEX,
 2   Defendants responded with a meme, overlaid over a photo of smiling Hayes and reading
 3   “incorporated in Seychelles, come at me bro,” cynically implying Defendants’ belief that they
 4   could avoid financial obligations to own investors using a fraudulent shell company incorporated
 5   in Seychelles. Compl. ¶ 30, Ex. 18 ¶ 19-20.
 6          Defendants’ response to Mr. Capone came shortly after a July 3, 2019 statement made by
 7   Hayes, captured on video, in which he was asked by a debate moderator about the differences
 8   between various global regulatory authorities and the Seychellois regulatory authorities. Hayes
 9   stated “it just costs more to bribe them,” and, when pressed by the moderator about “that not
10   being an answer,” Defendant Hayes responded, “it is an answer” and claimed he pays “a coconut”
11   to pay off the Seychellois authorities. The DOJ included this same exchange in its indictment,
12   alleging that Hayes “bragged in or about July 2019 that the Seychelles was a more friendly
13   jurisdiction for BitMEX because it cost less to bribe Seychellois authorities - just ‘a coconut’ -
14   than it cost to bribe regulators in the United States and elsewhere.” Compl. ¶ 29, Ex. 4 ¶ 21.
15          In the Amato Action after extensive briefing and oral argument, Judge Schulman of San
16   Francisco Superior Court has rejected Defendants’ fraudulent shell play and held, based on
17   similar allegations, that Defendants HDR and ABS were a single enterprise under California law.
18   Defendants’ application for a writ seeking to overturn this ruling was summarily rejected by the
19   California Court of Appeals. The same precedent now applies in this case as well and, therefore,
20   Defendants HDR and ABS are a single enterprise, centered in California.
21          D.      Jurisdictional defense fiasco and discovery of California and U.S. traders on
22                  BitMEX leaderboard
23          Defendants’ initial strategy (or, more accurately, a plot) to deal with a mounting number
24   of civil cases against them in the United States was to argue to Courts that Defendants were not
25   subject to personal jurisdiction in this country due to a lack of minimum contacts with the U.S.
26   and, specifically, due to not serving U.S. traders on their platform, Compl. ¶ 117 (despite, in truth
27   and in fact, having more that 85,000 U.S. trader accounts and taking more than $11 billion in U.S.
28   customer deposits, Compl. Ex. 5 p. 3).
                                                               JOINT CASE MANAGEMENT STATEMENT
                                                    -6-                         3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO          Document 131         Filed 01/27/21     Page 8 of 15



 1          That defense strategy spectacularly imploded when, in early August, 2020, Plaintiffs’
 2   counsel Pavel Pogodin, Esq. stumbled upon Defendants’ Leaderboard
 3   (https://www.bitmex.com/app/leaderboard, Compl. ¶ 116; Ex. 8) and discovered that, contrary to
 4   Defendants’ denials, among top three Leaderboard traders, who meaningfully revealed their real
 5   names, all three turned out to be U.S. persons, generating over $100,000,000 in trading profits on
 6   Defendants’ BitMEX platform. Plaintiffs’ attorney put this stunning discovery into a CMC
 7   statement, ECF 33, filed on August 11, 2020, which caused a bitterly angry response from
 8   Defendants’ counsel. Defendants’ counsel first demanded that Plaintiffs’ remove this very
 9   damaging jurisdictional information from the CMC statement using a CMC statement page limit
10   as an excuse. After receiving a negative response, Defendants’ counsel bitterly refused to file
11   Plaintiffs’ exhibits, ECF 39, to the CMC statement, ECF 33.
12          After Defendants and their counsel finally came to their senses and realized that the
13   jurisdictional genie was out of the bottle and their plot to mislead U.S. and California Courts has
14   been exposed, they hastily waived jurisdictional challenges in three United States civil cases
15   against them and instituted a “User Verification Programme” 2, designed to create an appearance
16   that Defendants somehow did not know before that most of their leaderboard was filled with U.S.
17   traders. 3 Compl. Ex. 9.
18          E.      Reed’s perjury at CFTC deposition and blatant lying to Courts
19          As stated above, Defendants’ plot to deal with civil litigation against them in the U.S. was
20   to falsely claim to Courts that, despite having more that 85,000 U.S. trader accounts and more
21   than $11 billion in U.S. customer deposits 4, Defendants were not subject to personal jurisdiction
22   in this country due to a lack of minimum contacts with the U.S. and California. In furtherance of
23   this plot to defraud U.S. Courts, Defendant Reed went as far as to commit a perjury during his
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               BitMEX operated for more than 5 years without any user verification what so ever. The
25   “User Verification Programme” was instituted less than 48 hours after Plaintiffs’ counsel put
     discovered jurisdictional evidence into CMC statement.
26           3
               The “User Verification Programme” was apparently instituted in order to avoid civil and
27   criminal liability for knowingly operating an unlicensed money transmission business in the U.S.
     in violation of 18 U.S.C. § 1960(a).
28           4
               CFTC Complaint, Compl. Ex. 2, p. 2-3, ¶ 3.
                                                              JOINT CASE MANAGEMENT STATEMENT
                                                    -7-                        3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO           Document 131         Filed 01/27/21     Page 9 of 15



 1   2019 deposition before CFTC, by denying that BitMEX maintained reports identifying U.S.
 2   customers on its trading platform, see DOJ Indictment, Compl. Ex. 4 p. 13, ¶ 27. In reality, in
 3   December of 2018, Reed received a report showing trading revenue attributable to U.S.
 4   customers, see Indictment, Compl. Ex. 4 p. 13, ¶ 27.
 5            Pursuant to the same plot, Defendants repeatedly untruthfully told Judge Schulman in the
 6   related Amato Action, that BitMEX serves only non-U.S. traders and, therefore, U.S. and
 7   California Courts lack jurisdiction over it, see Compl. ¶ 117. All these misrepresentations are
 8   parts of the same scheme to mislead U.S. Courts, which Defendants continue to pursue even
 9   today.
10            F.     History of Defendants’ frivolous litigation conduct in related cases
11            This is what San Francisco attorney Noah Hagey, Esq., recently said about Defendants’
12   frivolous and disingenuous conduct in the related Amato Action, involving the same Defendants
13   and the same Defendants’ counsel:
14            Defendants responded with the kitchen sink: an onslaught of motions, denials, pseudo meet-
              and-confers, and other legerdemain calculated to delay, frustrate, and overwhelm Plaintiffs
15            with frivolous motion practice to run out the clock.
              Defendants first attempted to remove the action to federal court in plain violation of the
16            Federal diversity jurisdiction rules. Under threat of sanctions, Defendants conceded to
              remand the action and to provide prompt access to discovery to resolve any further issues
17            regarding venue or jurisdiction.
18            Defendants then moved to quash for lack of personal jurisdiction, despite the fact that their
              entire operation was engineered, structured and effectively run from their base of operations
19            in the City of San Francisco. (Defendants ultimately abandoned this motion after months of
              insisting that they could not be sued in this state.) Ex. A, p. 3.
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              Just like in the Amato Action, Defendants in the present case are undertaking
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     “legerdemain calculated to delay, frustrate, and overwhelm Plaintiffs with frivolous motion
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     practice to run out the clock.” Moreover, in the same Amato Action, Defendants have
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     demonstrated an absolute lack of candor towards discovery obligations by concealing and
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     withholding from the opposing party and the Court critical evidence of brazen and enormous
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     asset dissipation, despite receiving multiple discovery requests to produce it, 5 ECF 84-8 p. 1 fn. 1,
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              5
27             Plaintiffs ultimately obtained the evidence of asset dissipation by Defendants from a
     third party SOSV, after filing multiple motions to compel and for sanctions in New Jersey State
28   Court. Defendants themselves never produced this information. As soon as Plaintiffs obtained
     this “smoking gun” type of evidence, Defendants urgently settled and moved to expunge it from
                                                               JOINT CASE MANAGEMENT STATEMENT
                                                     -8-                        3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO           Document 131         Filed 01/27/21   Page 10 of 15



 1    and by continuously refusing to produce any other evidence, Ex. A p. 3, 5. Moreover,
 2    Government actions against Defendants reveal that Defendants both falsified and destroyed
 3    critical records. Compl. Ex. 4 p. 12 ¶ 26; Ex. 5 p. 16 ¶ 49.
 4    II.    PROCEDURAL POSTURE
 5           On September 14, 2020, Defendants HDR, ABS, Hayes, Delo, and Reed—the only named
 6    defendants at the time—moved to dismiss Plaintiffs BMA LLC, Kolchin, and Dubinin’s Second
 7    Amended Complaint. ECF 42. Those same Defendants also moved for a stay of discovery on
 8    September 28, 2020, which Plaintiffs opposed. ECF 43, 49.
 9           On October 8, 2020, Plaintiffs moved for leave to file a Third Amended Complaint, which
10    Defendants opposed. ECF 46, 69. On October 26, 2020, Plaintiffs also opposed Defendants’
11    Motion to Dismiss Plaintiffs’ Second Amended Complaint. ECF 74.
12           On October 14 and November 13, 2020, respectively, counsel for Plaintiffs filed two
13    additional actions that have since been related and consolidated with the present action. 6 ECF 88,
14    94, 98. On November 10, 2020, the Court also (1) stayed discovery, (2) denied as moot
15    Defendants’ Motion to Dismiss Plaintiffs’ Second Amended Complaint and Plaintiffs’ Motion for
16    Leave to File a Third Amended Complaint, and (3) ordered counsel for Plaintiffs to file a
17    consolidated complaint. ECF 94.
18           On November 25, 2020, Plaintiffs filed a Consolidated Complaint naming additional
19    defendants. ECF 97. On December 23, 2020, Defendants moved to dismiss Plaintiffs’
20    Consolidated Complaint. ECF 126. Plaintiffs opposed on January 13, 2021. ECF 129.
21    Defendants replied on January 20, 2021. ECF 130.
22    III.   PENDING MOTIONS
23           Defendants’ Motion to Dismiss Plaintiffs’ Consolidated Complaint is fully briefed and set
24    for hearing on February 3, 2021, concurrently with the Case Management Conference.
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      Court records, Ex. C.
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               Those two actions are (1) Dolgov v. HDR Global Trading Limited, et al., No. 3:20-cv-
      07140 (N.D. Cal.) and (2) Gabriel-Razvan v. HDR Global Trading Limited, et al., No. 3:20-cv-
28    08034 (N.D. Cal.).
                                                               JOINT CASE MANAGEMENT STATEMENT
                                                     -9-                        3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO           Document 131            Filed 01/27/21   Page 11 of 15



 1    IV.    EVIDENCE PRESERVATION
 2           PLAINTIFFS’ STATEMENT:
 3           In the related Amato Action, Defendants recently demonstrated an absolute lack of candor
 4    towards discovery obligations by concealing and withholding from the opposing party and the
 5    Court critical evidence of brazen and enormous in size asset dissipation, despite receiving
 6    multiple discovery requests to produce it, ECF84-8 p. 1 fn. 1, and by continuously refusing to
 7    produce any other evidence at all, Ex. A p. 3, 5. Moreover, Government actions against
 8    Defendants reveal that Defendants both falsified and destroyed critical records. Compl. Ex. 4 p.
 9    12 ¶ 26; Ex. 5 p. 16 ¶ 49. Moreover, to all Plaintiffs’ requests to positively confirm that
10    Defendants actually possess the critical evidence including order, trading and funds transfer data
11    for the relevant time period, Defendants’ counsel responded evasively, always leaving a door
12    open to a possibility that said critical data was deleted just before this lawsuit was filed. In view
13    of the above circumstances, Plaintiffs have a strong suspicion that, consistent with the well-
14    established pattern of brazen indifference towards authority of the Courts clearly established by
15    Defendants time and again, the evidence critical to this case was also deleted or otherwise made
16    unavailable by Defendants. If Plaintiffs’ suspicions are confirmed, Plaintiffs are anticipating
17    bringing a motion for terminating and/or evidentiary sanctions.
18           DEFENDANTS’ STATEMENT:
19           Defendants have repeatedly confirmed to Plaintiffs (and this Court) that Defendants have
20    acted properly to preserve evidence. Plaintiffs’ assertions otherwise are incorrect, and are
21    particularly without basis as to a dismissed and unrelated state court case (Amato) in which
22    neither Plaintiffs nor their counsel had any involvement.
23    V.     SCHEDULING
24           PLAINTIFFS’ STATEMENT:
25           Plaintiffs propose a fact discovery cut-off in October 2021 and an expert discovery cut-off
26    in December 2021. Plaintiffs propose any motions for summary judgment be filed by December
27    2021 and heard by January 2022. Plaintiffs propose a pretrial conference in April 2022 and trial
28    starting in May 2022.
                                                                  JOINT CASE MANAGEMENT STATEMENT
                                                     - 10 -                        3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO          Document 131           Filed 01/27/21   Page 12 of 15



 1           DEFENDANTS’ STATEMENT:
 2           Prior to resolution of Defendants’ pending Motion to Dismiss, Defendants believe it is
 3    premature to attempt to set a case schedule, which should take into account what claims, if any,
 4    survive.
 5    VI.    SETTLEMENT AND ADR
 6           PLAINTIFFS’ STATEMENT:
 7           In view of Court’s clear direction that ADR be completed early and timely, Plaintiffs are
 8    prepared to engage in ADR process early on and complete it within 90 days. Parties will confer
 9    on a preferred ADR process and will so inform the Court.
10           DEFENDANTS’ STATEMENT:
11           Defendants believe it is too early to engage productively in ADR.
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                                                                JOINT CASE MANAGEMENT STATEMENT
                                                   - 11 -                        3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO      Document 131       Filed 01/27/21   Page 13 of 15


       DATED: January 27, 2021                  Respectfully submitted,
 1
                                                JONES DAY
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                                                By: /s/ Stephen D. Hibbard
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 5                                              Counsel for Defendants
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 6                                              ABS GLOBAL TRADING LIMITED
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12                                              Counsel for Defendant
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                                                Counsel for Defendant
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                                                        JOINT CASE MANAGEMENT STATEMENT
                                           - 12 -                        3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO   Document 131       Filed 01/27/21   Page 14 of 15



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                                                     JOINT CASE MANAGEMENT STATEMENT
                                        - 13 -                        3:20-cv-03345-WHO
     Case 3:20-cv-03345-WHO            Document 131             Filed 01/27/21   Page 15 of 15



 1                                               ATTESTATION
 2            I, Stephen D. Hibbard, am the ECF User whose ID and password are being used to file
 3    this JOINT CASE MANAGEMENT STATEMENT. In compliance with Civil L.R. 5-1(i)(3), I
 4    hereby attest that all signatories concur in this filing.
 5

 6    DATED: January 27, 2021
                                                                        /s/ Stephen D. Hibbard
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                                                                        STEPHEN D. HIBBARD
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                                                       - 14 -                        3:20-cv-03345-WHO
